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                   EXHIBIT B
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     SUPREME  COURT  OF  THE  STATE  OF  NEW  YORK 
     APPELLATE  DIVISION      FIRST  JUDICIAL  DEPARTMENT 
                                                                                rer  rrrsts  x 
     eee  ee  ee  eee  ee  ee  ee  ee  ee  ee  ee  ee  ee  ee  ee  ee  er  eer 

     In  the  Matter  of  Martin  Eric  Elling, 
     an  attorney  and  counselor-at-law: 
                                                                                           NOTICE  OF 
              Attorney  Grievance  Committee                                                      ENTRY 
              for  the  First  Judicial  Department, 
                                                                                           Motion  No.:    2025-00620 
                                                     Petitioner,                           Case  No.:  2025-00673 

              Martin  Eric  Elling, 
               (OCA  Atty.  Reg.  No.:  2566040), 

                                                     Respondent. 




              PLEASE  TAKE  NOTICE  that  the  within  is  a  certified  copy  of 

     an  order  duly  made  in  this  proceeding  and  duly  entered  and 

     filed  in  the  office  of  the  Clerk  of  the  Supreme  Court  of  the 




  
     State  of  New  York,  Appellate  Division,                                First  Department,              on  the 

     1%*  day  of  April,             2025. 


     Dated:         NEW  YORK,         NEW  YORK 
                    April  4,  2025 
                                                                        Yours  etc., 

                                                                        JORGE  DOPICO 
                                                                        Chief  Attorney 
                                                                        Attorney  for  Petitioner 
                                                                        Attorney  Grievance 
                                                                        Committee  for  the  First 
                                                                        Judicial  Department 
                                                                        180  Maiden  Lane  -  17‘  Floor 
     TO:      Marjorie  J.            Peerce,  Esq.                     New  York  New  York  10038 
              Ballard  Sphar,              LLP                           (212)      401-0800 
              1675  Broadway,  Floor  19 
              New  York,  New  York  10019                              RAYMOND  VALLEJO 
              PeerceM@ballardspahr.com 
                
                                                                        Of  Counsel 
              Attorney  for  Respondent 
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              Supreme  Court  of  the  State  of  New  Bork 
            Appellate  Division,  First  Judicial  Department 

Present-  Hon.     Tanya  R.  Kennedy                            Justice  Presiding, 
                   Barbara  R.  Kapnick 
                    Saliann  Scarpulla 
                   Manuel  J.  Mendez 
                   Marsha  D.  Michael,                          Justices. 

                                   




                                  Motion  No.       2025-00620 
                                  Case  No.         2025-00673 

                                    




                                          In  the  Matter  of 
                                        MARTIN  ERIC  ELLING 
                                             an  attorney: 

                           ATTORNEY  GRIEVANCE  COMMITTEE  FOR  THE 
                                   FIRST  JUDICIAL  DEPARTMENT, 
                                                              Petitioner, 

                                          MARTIN  ERIC  ELLING 
                                     (OCA  ATTY  REG.  2566040), 
                                                               Respondent. 
  




      Disciplinary  proceedings  instituted  by  the  Attorney  Grievance  Committee  for  the 
      First  Judicial  Department.  Respondent,  Martin  Eric  Elling,  was  admitted  to  the 
      Bar  of  the  State  of  New  York  at  a  Term  of  the  Appellate  Division  of  the  Supreme 
      Court  for  the  Third  Judicial  Department  on  September  2,  1993. 

     Jorge  Dopico,  Chief  Attorney, 
     Attorney  Grievance  Committee,  New  York 
      (Raymond  Vallejo,  of  counsel),  for  petitioner 

      Marjorie  J.  Peerce,  for  respondent.
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Motion  No.  2025-00620  —  February  24,  2025 

                    In  the  Matter  of  Martin  Eric  Elling,  an  attorney 


PER  CURIAM 

        Respondent  Martin  Eric  Elling  was  admitted  to  the  practice  of  law  in  the  State  of 

New  York  by  the  Third  Judicial  Department  on  September  2,  1993.  At  all  times  relevant 

to  this  proceeding,  respondent  owned  a  cooperative  apartment  in  the  First  J udicial 

Department. 

        On  January  10,  2024,  respondent  pleaded  guilty,  in  the  United  States  District 

Court  for  the  Western  District  of  Virginia  to  one  felony  count  of  Destruction,  Alteration, 

or  Falsification  of  Records  in  Federal  Investigations  and  Bankruptcy,  in  violation  of  18 

USC  §  1519.  During  his  plea  hearing,  respondent  admitted  that  he  deleted  documents 

with  the  intent  to  impede  state  and  federal  investigations.  Respondent  is  scheduled  to  be 

sentenced  on  April  4,  2025. 

        By  motion  dated  January  30,  2025,  respondent  seeks  an  order,  pursuant  to  Rules 

for  Attorney  Disciplinary  Matters  (22  NYCRR)  §  1240.10,  accepting  his  resignation  as  an 

attorney  and  counselor-at-law  in  the  State  of  New  York  on  the  ground  that  the  offense  of 

which  he  was  convicted  is  a  “serious  crime”  as  defined  by  Judiciary  Law  §  90(4)(d).  In 

support  of  his  application,  respondent  submitted  an  affidavit,  sworn  to  January  21, 

2025,  which  conforms  to  the  format  set  forth  in  Appendix  A  to  22  NYCRR  1240.10,  and 

states  that  he  does  “not  wish  to  contest  the  ability  of  the  [AGC]  to  seek  and  obtain  [his] 

removal  from  the  roll  of  attorneys  and  counselors-at-law  based  upon  [his]  guilty  plea”; 

and  he  “cannot  successfully  defend  against  the  charge  based  upon  the  facts  and 

circumstances  of  [his]  professional  conduct.”
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        Further,  respondent  acknowledges  that  his  resignation  is  freely  and  voluntarily 

rendered,  without  coercion  or  duress  by  anyone,  and  with  full  awareness  of  the 

consequences.  Additionally,  respondent  acknowledges  and  agrees  that  pending  issuance 

of  an  order  accepting  his  resignation,  he  shall  not  undertake  to  represent  any  new 

clients  or  accept  any  retainers  for  future  legal  services  to  be  rendered  and  that  there  will 

be  no  transactional  activity  in  any  fiduciary  account  to  which  he  has  access,  other  than 

for  payment  of  funds  held  therein  on  behalf  of  clients  or  others  entitled  to  receive  them. 

He  understands  further  that,  in  the  event  the  Court  accepts  his  resignation,  the  order 

resulting  from  this  application  and  the  records  and  documents  filed  in  relation  to  the 

aforementioned  allegations,  including  his  affidavit,  shall  be  deemed  public  records 

pursuant  to  Judiciary  Law  §  90(10). 

        The  Attorney  Grievance  Committee  (AGC)  does  not  oppose.  It  states  that 

respondent’s  application  is  compliant  with  22  NYCRR  1240.10  and  includes  the 

requisite  admissions.  In  addition,  the  AGC  cites  caselaw  in  which  this  Court  has 

accepted  the  disciplinary  resignations  of  attorneys  who  have  been  convicted  of  felonies 

(see  Matter  of  Wise,  220  AD3d  45  [1st  Dept  2023];  Matter  of Pilon,  184  AD3d  49  [1st 

Dept  2020)]). 

        In  light  of  the  foregoing,  we  accept  respondent’s  resignation  (see  e.g.  Matter  of 

Fisher,  210  AD3d  1  [ist  Dept  2022];  Matter  of Berman,  200  AD3d  104  [ast  Dept  2021]; 

Matter  of Dubal,  151  AD3d  34  [1st  Dept  2017]).  Here,  respondent  concedes  that  his 

offense  meets  Judiciary  Law  §  90(4)(d)’s  definition  of  a  “serious  crime”  and  his  affidavit 

conforms  with  22  NYCRR  1240.10.  Moreover,  this  Court  has  previously  accepted  a 

disciplinary  resignation  based  on  a  federal  felony  conviction  prior  to  sentencing  (see  e.g. 

Matter  of Bristol,  94  AD3d  85,  88  [1st  Dept  2012]  [accepting  resignation  of  attorney 

                                                      3
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convicted  of  conspiracy  to  commit  money  laundering  and  opining  that  “[u]nder  such 

circumstances,  in  lieu  of  undertaking  the  protracted  and  time-consuming  additional 

tasks  necessary  to  determining  whether  disbarment  is  appropriate,  where  respondents 

have  submitted  their  resignations,  this  Court  has  simply  accepted  the  respondents’ 

resignations” 
            ]). 

        Accordingly,  respondent’s  motion  is  granted,  his  resignation  accepted,  and  his 

name  stricken  from  the  roll  of  attorneys  and  counselors-at-law  in  the  State  of  New  York, 

effective  nunc  pro  tunc  to  January  21,  2025  (date  of  affidavit). 

All  concur. 

        Wherefore,  it  is  Ordered  that  the  motion  of  respondent,  Martin  Eric  Elling,  to 

resign  as  an  attorney  and  counselor-at-law  pursuant  to  22  NYCRR  1240.10  is  granted, 

and  respondent  is  disbarred  from  the  practice  of  law  in  the  State  of  New  York,  effective 

nunc  pro  tunc  to  January  21,  2025;  and 

        It  is  further  Ordered  that,  pursuant  to  Judiciary  Law  §  90,  respondent,  Martin 

Eric  Elling,  is  commanded  to  desist  and  refrain  from  (1)  the  practice  of  law  in  any  form, 

either  as  principal  or  agent,  clerk  or  employee  of  another,  (2)  appearing  as  an  attorney 

or  counselor-at-law  before  any  court,  Judge,  Justice,  board,  commission  or  other  public 

authority,  (3)  giving  to  another  an  opinion  as  to  the  law  or  its  application  or  any  advice 

in  relation  thereto,  and  (4)  holding  himself  out  in  any  way  as  an  attorney  and  counselor- 

at-law;  and 

        It  is  further  Ordered  that,  respondent,  Martin  Eric  Elling,  shall  comply  with  the 

rules  governing  the  conduct  of  disbarred  or  suspended  attorneys  (see  22  NYCRR 

1240.15),  which  are  made  part  hereof;  and
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        It  is  further  Ordered  that  if  respondent,  Martin  Eric  Elling,  has  been  issued  a 

secure  pass  by  the  Office  of  Court  Administration,  it  shall  be  returned  forthwith. 

Entered:  April  1,  2025




                                                                        Susanna  Molina  Rojas 
                                                                          Clerk  of  the  Court 
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                                        Appellate  Division,  First  Judicial  Department 
                                                   22  NYCRR §  1240.15 

§  1240.15  Conduct  of  Disbarred  or  Suspended  Attorneys 
                                                                                            shall  comply  with  Judiciary  Law  §§478,  479, 
(a)  Prohibition  Against  Practicing  Law.  Attorneys  disbarred  or  suspended 
                                                                                  the  affected  respondent  shal]  not  accept  any  new 
484  and  486.  After  entry  of  an  order  of  disbarment  or  suspension, 
                                                                                   attorney  for  another.  However,  during  the  period 
retainer  or  engage  in  any  new  case  or  legal  matter  of  any  nature  as 
                                                                                          may  wind  up  and  complete,  on  behalf  of  any 
between  the  entry  date  of  the  order  and  its  effective  date,  the  respondent 
client,  all  matters  which  were  pending  on  the  entry  date. 
                                                                              of  an  order  of  suspension  or  disbarment,  the  affected 
(b)  Notification  of  Clients.  Within  10  days  of  the  date  of  entry 
                                                                              electronic  mail,  each  client  of  the  respondent,  the  attorney 
respondent  shall  notify,  by  certified  mail  and,  where  practical, 
                                                                              matter,  and  the  Office  of  Court  Administration  for  each 
for  each  party  in  any  pending  matter,  the  court  in  any  pending 
                                                                                   rules.  The  notice  shall  state  that  the  respondent  is  unable 
action  where  a  retainer  statement  has  been  filed  pursuant  to  court 
                                                                             a  respondent’s  client  shall!  advise  the  client  to  obtain  new 
to  act  as  counsel  due  to  disbarment  or  suspension.  A  notice  to 
                                                                               to  the  Office  of  Court  Administration  in  connection  with  an 
counsel.  A  notice  to  counsel  for  a  party  in  a  pending  action,  or 
                                                                                   rule,  shall  include  the  name  and  address  of  the 
action  where  a  retainer  statement  has  been  filed  pursuant  to  court 
                                                                          court,  notice  shall  also  be  provided  to  the  appointing  court. 
respondent’s  client.  Where  counsel  has  been  appointed  by  a 
                                                                               of  entry  of  the  order  of  suspension  or  disbarment,  the 
(c)  Duty  to  Return  Property  and  Files.  Within  30  days  of  the  date 
                                                                                  parties,  or  to  a  successor  attorney  designated  by  such 
affected  respondent  shall  deliver  to  all  respondent’s  clients  or  third 
                                                                            files)  in  the  possession  of  the  respondent  to  which  such 
clients  or  third  parties,  all  money  and  property  (including  legal 
clients  or  third  parties  are  entitled. 
                                                                           the  date  of  entry  of  the  order  of  suspension  or  disbarment, 
(d)  Discontinuation  of  Attorney  Advertising.  Within  30  days  of 
                                                                                    through  advertising,  office  stationery  and  signage, 
the  affected  respondent  shall  discontinue  all  public  and  private  notices 
                                                                         methods,  that  assert  that  the  respondent  may  engage  in  the 
email  signatures,  voicemail  messages,  social  media,  and  other 
practice  of  law. 
                                                                                of  the  order  of  suspension  or  disbarment,  the  affected 
(e)  Forfeiture  of  Secure  Pass.  Within  30  days  of  the  date  of  entry 
                                                                                any  Attorney  Secure  Pass  issued  to  him  or  her. 
respondent  shall  surrender  to  the  Office  of  Court  Administration 
                                                                                    of  the  order  of  disbarment  or  suspension,  the  affected 
(f)  Affidavit  of  Compliance.  Within  45  days  after  the  date  of  service 
                                                                                 upon  the  Committee,  an  affidavit  in  the  form  in 
respondent  shall  file  with  the  Court,  together  with  proof  of  service 
                                                                           for  the  respondent  and  that  the  respondent  has  complied 
Appendix  B  to  these  Rules  showing  a  current  mailing  address 
with  the  order  and  these  Rules. 

                                                                          suspended  from  the  practice  of  law  may  not  share  in  any  fee 
(g)  Compensation.  A  respondent  who  has  been  disbarred  or 
                                                                                of  disbarment  or  suspension  but  may  be  compensated  on 
for  legal  services  rendered  by  another  attorney  during  the  period 
                                                                                  date  of  the  disbarment  or  suspension.  On  motion  of  the 
a  quantum  meruit  basis  for  services  rendered  prior  to  the  effective 
                                                                            and  manner  of  compensation  shall  be  determined  by  the 
respondent,  with  notice  to  the  respondent’s  client,  the  amount 
                                                                         has  not  been  commenced,  at  a  special  term  of  the  Supreme 
court  or  agency  where  the  action  is  pending  or,  if  an  action 
                                                                               The  total  amount  of  the  legal  fee  shall  not  exceed  the 
Court  in  the  county  where  the  respondent  maintained  an  office. 
                                                                           counsel  had  been  required. 
amount  that  the  client  would  have  owed  if  no  substitution  of 
                                                                            suspended  from  the  practice  of  law  shall  keep  and 
 (h)  Required  Records.  A  respondent  who  has  been  disbarred  or 
                                                                           so  that,  upon  any  subsequent  proceeding  instituted  by  or 
 maintain  records  of  the  respondent’s  compliance  with  this  rule 
                                                                          with  the  disbarment  or  suspension  order  or  with  the  order 
 against  the  respondent,  proof  of  compliance  with  this  rule  and 
 accepting  resignation  will  be  available.
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